       Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 1 of 8 PageID #: 1




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                   COMPLAINT   AND
                                                                             DEMAND FOR JURY
                                    Plaintiff,                               TRIAL

                  -against-                                                  Civil Action No.
                                                                             24-CV-_______
                                                                                    2414
 BELLE SHORE CONDOMINIUM LLC, DELKAP
 MANAGEMENT, INC., and JOEI LOSITO,                                          (_________, J.)
                       Defendants.                                           (_________, M.J.)
 ---------------------------------------------------------------------X

                  Plaintiff, the United States of America, by its attorney, BREON PEACE, United

States Attorney for the Eastern District of New York, Geoffrey M. Stannard, Assistant U.S.

Attorney, Of Counsel, for its complaint, alleges as follows:

                                             INTRODUCTION

                 1.       The United States of America brings this action pursuant to the Fair

Housing Act of 1968, as amended by the Fair Housing Amendments Act of 1988, 42 U.S.C.

§ 3601, et seq. (the Act).

                 2.       This civil action is brought by the United States on behalf of Priscilla Hand.

Ms. Hand is an African American woman with a disability who owns a unit and resides at Belle

Shore Condominium (the Condominium). As described below, in violation of the Act’s protections

of individuals with disabilities, Defendants refused to accommodate Ms. Hand’s reasonable

request for a designated, accessible parking space. Defendants also discriminated against Ms. Hand

based on her race when they refused to help her obtain a parking space, even though they had
      Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 2 of 8 PageID #: 2




previously offered to facilitate an accommodation to a White resident with a disability who sought

a parking space.

                                  JURISDICTION AND VENUE

                3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1345 and 42 U.S.C. § 3612(o).

                4.      Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c). Defendants Belle

Shore Condominium LLC and Delkap Management, Inc. have their primary places of business in

this district, and defendant Joei Losito resides in this district.

                5.      The Attorney General is authorized by 42 U.S.C. § 3612(o) to commence

this civil action to enforce the provisions of the Act.

                                               PARTIES

                6.      Plaintiff is the United States of America.

                7.      Defendant Belle Shore Condominium LLC (Belle Shore) is a New York-

based for-profit company and the governing body responsible for managing and maintaining the

building, common areas, and facilities of the Condominium.

                8.      Defendant Delkap Management, Inc. (Delkap) is the property management

company contracted by Defendant Belle Shore to manage and maintain the building, common

areas, and facilities of the Condominium on Belle Shore’s behalf.

                9.      Defendant Joei Losito is the Property Manager employed by Defendant

Delkap to oversee the day-to-day operations of the Condominium.




                                                    2
      Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 3 of 8 PageID #: 3




                                               FACTS

               10.     Ms. Hand is an aggrieved person under 42 U.S.C. § 3602(i)(1). She has been

diagnosed with a total, permanent mental health disability and is a person with a disability as

defined by the Act, 42 U.S.C. § 3602(h).

               11.     The symptoms of Ms. Hand’s condition make it nearly impossible for her

to use public transportation. She must drive her own car and park as near to her destination as

possible to avoid crowds. Searching for parking spaces in her neighborhood causes her stress,

which exacerbates her condition. Ms. Hand has possessed a handicap license plate issued by the

New York City Department of Motor Vehicles since the summer of 2021.

               12.     Ms. Hand has owned and resided at a unit at the Condominium since 2019,

but she does not own a parking space.

               13.     The Condominium has 64 parking spaces, three (3) of which (spaces #6,

#35, and #36) were designated “handicapped parking spaces” at the time the Condominium’s

offering plan (the Offering Plan) was published in 2005. Each parking space was deeded, and

initially, the accessible parking spaces were available only to purchasers with disabilities.

However, as the Condominium’s units and parking spaces sold, no qualifications were placed on

who could purchase the accessible parking spaces.

               14.     The Offering Plan, contemplating that a resident with a disability might

require an accessible parking space in the future, states, in pertinent part:

               In the event that a prospective Purchaser or Residential Unit Owner already
               owns a space needed by a person meeting the requirements for a
               handicapped parking space, the Purchaser of a designated handicapped
               Parking Space Unit will be required to either lease, sell or swap the
               designated handicapped Parking Space Unit to a disabled resident of the
               Condominium.




                                                  3
         Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 4 of 8 PageID #: 4




                  15.     The requirement that non-disabled residents must lease, sell, or swap their

designated handicapped parking space to a disabled resident is reiterated in the Condominium By-

Laws (the By-Laws):

                  Owners of designated handicapped Parking Space Units who are not a [sic]
                  disabled person as defined in the Federal Fair Housing Amendments Act of
                  1988 (the “Act”) must either lease, sell or swap the designated handicapped
                  Parking Space Unit to a disabled person of [sic] the Act and who has been
                  issued a handicapped parking space sticker or permit from the City or State
                  of New York who is a resident of the Condominium, if requested.

                  16.     The Condominium is managed by a Board of Managers (the Board) that,

according to the By-Laws, “may exercise all such powers of the Condominium and do all such

lawful acts and things as are not by Statute or by the Declaration or by these By-Laws, directed or

required to be exercised or done by the Residential Unit Owners personally.”

                  17.     In the spring or summer of 2021, E.F., 1 a White condo owner at the

Condominium, sought information from Defendant Belle Shore about obtaining an accessible

parking space. Defendant Belle Shore was highly motivated to fulfill her request and was ready to

initiate the process. A member of the Board told E.F. she would be able to purchase one of the

accessible parking spaces for $50,000. E.F. was never told that she would need to contact the

owner of the parking space directly. E.F. ultimately decided not to proceed with purchasing a

parking space.

                  18.     On January 26, 2022, Ms. Hand contacted Defendants Losito and Belle

Shore by email to request a reasonable accommodation to facilitate the process of acquiring an

accessible parking space.

                  19.     Contrary to the treatment that E.F. received, Defendant Belle Shore stated,

“[t]he association and the management does [sic] NOT own the parking spaces or handle the sale


1
    Initials are being used to preserve E.F.’s privacy.


                                                    4
      Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 5 of 8 PageID #: 5




of them.” A member of the Board nonetheless emailed Ms. Hand and instructed her to put her

request in writing to Defendant Losito to “begin the process.”

               20.    Later that same day, Defendant Losito emailed Ms. Hand, in relevant part,

“Please be advised that this request has already been addressed by other homeowners. The

response remains the same. There are no parking spaces allocated as ‘handicap.’ . . .” This

information was contrary to the By-Laws, which reference three accessible parking spaces in the

complex.

               21.    On February 11, 2022, Ms. Hand emailed Defendants to ask again about

how to obtain an accessible parking space. She wrote that according to the bylaws, there were

three accessible parking spaces in the complex. She added:

               [P]lease help me in obtaining one of the 3 spots available. I spoke with
               [E.F.] in unit [REDACTED] and she informed me that she was offered a
               handicap parking spot but decided to back out for personal reasons. What is
               the difference between myself and [E.F.]. The only difference I see is
               pigmentation. We both have a handicap.

               22.    On February 11, 2022, Defendant Losito and Board member E.C. both

emailed Ms. Hand separately to tell her that there were no accessible parking spaces at the

Condominium, as all spaces had been purchased by individual unit owners.

               23.    On May 4, 2022, Ms. Hand emailed Defendants for a third time to request

that they intervene to help her secure an accessible parking space. Ms. Hand also requested that

Defendants identify all accessible parking spaces and provide contact information for their

respective owners.

               24.    Later that same day, Board member E.C. replied to Ms. Hand’s email,

stating that the parking spaces were “deeded property” that were converted to “regular spaces” and




                                                5
      Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 6 of 8 PageID #: 6




that the Condominium “no longer has handicapped spaces.” E.C. denied Ms. Hand’s request for

the accessible space owners’ contact information.

               25.     To date, Ms. Hand has been unable to purchase an accessible parking space.

                             HUD ADMINISTRATIVE PROCESS

               26.     On September 20, 2022, Ms. Hand timely filed a complaint with the United

States Department of Housing and Urban Development (“HUD”).

               27.     Pursuant to 42 U.S.C. § 3610(a) and (b), the Secretary of HUD conducted

and completed an investigation of the complaint, attempted conciliation without success, and

prepared a final investigative report. Based upon the information gathered in the investigation, the

Secretary, pursuant to 42 U.S.C. § 3610(g)(1), determined that reasonable cause existed to believe

that illegal discriminatory housing practices had occurred.

               28.     On February 13, 2024, the Secretary issued a Charge of Discrimination,

pursuant to 42 U.S.C. § 3610(g)(2)(A), charging the above-named Defendants with engaging in

unlawful discrimination in violation of the Fair Housing Act.

               29.     On March 1, 2024, Defendants elected to have the claims asserted in the

HUD Charge resolved in a civil action pursuant to 42 U.S.C. § 3612(a).

               30.     On March 7, 2024, an Administrative Law Judge issued a Notice of Election

to Proceed in United States Federal District Court and terminated the administrative proceeding

on Ms. Hand’s complaint.

               31.     Following this Notice of Election, the Secretary of HUD authorized the

Attorney General to commence this civil action pursuant to 42 U.S.C. § 3612(o).




                                                 6
       Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 7 of 8 PageID #: 7




                                  FIRST CLAIM FOR RELIEF

                32.     The United States repeats and realleges the allegations contained in

paragraphs 1 through 31 as if set forth fully herein.

                33.     Section 804 of the Act, 42 U.S.C. § 3604, provides that it shall be unlawful

                (f)(2) To discriminate against any person in the terms, conditions, or
                privileges of sale or rental of a dwelling, or in the provision of services or
                facilities in connection with such dwelling, because of a handicap of . . . that
                person[;]

                (f)(3)(B) For purposes of this subsection, discrimination includes . . . a
                refusal to make reasonable accommodations in rules, policies, practices, or
                services, when such accommodations may be necessary to afford such
                person equal opportunity to use and enjoy a dwelling[;]

                34.     Defendants violated the Act by discriminating against Ms. Hand based on

her disability when they denied Ms. Hand’s reasonable accommodation request and refused to

facilitate the potential transfer of an accessible parking space to Ms. Hand or to enforce

Condominium policy requiring accessible parking spaces to be made available to residents with

disabilities.

                                 SECOND CLAIM FOR RELIEF

                35.     The United States repeats and realleges the allegations contained in

paragraphs 1 through 31 as if set forth fully herein.

                36.     Section 804 of the Act, 42 U.S.C. § 3604, provides that it shall be unlawful

                (b) To discriminate against any person in the terms, conditions, or privileges
                of sale or rental of a dwelling, or in the provision of services or facilities in
                connection therewith, because of race, color, religion, sex, familial status,
                or national origin[.]

                37.     Defendants discriminated against Ms. Hand in violation of the Act when

they refused to facilitate the potential transfer of an accessible parking space to Ms. Hand in 2022




                                                   7
      Case 1:24-cv-02414 Document 1 Filed 04/01/24 Page 8 of 8 PageID #: 8




but offered to facilitate such a transfer to a White Condominium resident who made a request

similar to Ms. Hand’s the previous year.

               WHEREFORE, Plaintiff United States of America requests that the Court enter

judgment:

               A.      Declaring that Defendants’ conduct as alleged above violated and continues

to violate the Fair Housing Act, as amended, 42 U.S.C. § 3601, et seq.;

               B.      Awarding Ms. Hand monetary damages pursuant to 42 U.S.C.

§§ 3612(o)(3) and 3613(c)(1);

               C.      Enjoining Defendants and their agents and employees from engaging in the

practice of unlawfully discriminating on the basis of disability or race with regard to requests for

accommodations relating to parking spaces pursuant to 42 U.S.C. §§ 3612(o)(3) and 3613(c)(1);

               D.      Ordering Defendants to facilitate the transfer of a designated accessible

Parking Space Unit from any non-disabled person who owns one to Ms. Hand; and

               E.      Granting such other and further relief that is just and proper.


Dated: Brooklyn, New York
       April 1, 2024


                                                              BREON PEACE
                                                              United States Attorney
                                                              Eastern District of New York
                                                              271 Cadman Plaza East
                                                              Brooklyn, New York 11201

                                                      By:     /s/ Geoffrey M. Stannard____
                                                              Geoffrey M. Stannard
                                                              Assistant United States Attorney
                                                              (718) 254-6229
                                                              geoffrey.stannard@usdoj.gov




                                                 8
